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8
                        UNITED STATES DISTRICT COURT
9
                       CENTRAL DISTRICT OF CALIFORNIA
10

      NAHID SEDAGHATFAR,                              )      Case No.
11
      individually, and on behalf of all              )
12
      others similarly situated,                      )      2:20-cv-11729-SB-RAO
13    Plaintiff,                                      )      NOTICE OF VOLUNTARY
                                                      )      DISMISSAL OF ACTION WITH
14
      v.                                              )      PREJUDICE AS TO PLAINTIFF
15                                                    )      AND WITHOUT PREJUDICE AS
      IDT DOMESTIC TELECOM, INC.,                     )      TO THE PUTATIVE CLASS.
16
      and DOES 1 through 10, inclusive,               )
17
      Defendant.                                      )
18
                                                      )
                                                      )
19

20    NOW COMES THE PLAINTIFFs by and through their attorneys to respectfully
21    move this Honorable Court to dismiss this matter with prejudice as to plaintiff
22    and without prejudice as to the class. No Defendant has filed either an answer or
23    a motion for summary judgment at this time, and no Court order is necessary
24    pursuant          to          the                Fed.             R.          Civ.   P.
25    Respectfully submitted this 3rd Day of July, 2021,
26
                                                 By: s/Adrian R. Bacon Esq.
27
                                                      Adrian R. Bacon
28                                                  Attorney for Plaintiff



                                           Notice of Dismissal - 1
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1                              CERTIFICATE OF SERVICE
2
      Filed electronically on July 3, 2021, with:
3

4     United States District Court CM/ECF system
5
      Notification sent electronically on July 3, 2021, to:
6

7
      To the Honorable Court, all parties and their Counsel of Record

8

9                                              By: s/Adrian R. Bacon Esq.
                                                    Adrian R. Bacon
10
                                                    Attorney for Plaintiff
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                                         Notice of Dismissal - 2
